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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  LAFAYETTE DIVISION


 In re INOTIV, INC. SECURITIES                     Case No. 4:22-cv-00045-PPS-JEM
 LITIGATION
                                                   Judge Philip P. Simon
                                                   Magistrate Judge John E. Martin



                      DEFENDANTS’ MOTION TO DISMISS
          LEAD PLAINTIFF’S FIRST AMENDED CLASS ACTION COMPLAINT

          Defendants Inotiv, Inc., Robert W. Leasure, Beth A. Taylor, John E. Sagartz, and Carmen

Wilbourn (“Defendants”), by and through their undersigned counsel, respectfully move this Court

pursuant to Federal Rules of Civil Procedure 9(b) and 12(b)(6) and the Private Securities Litigation

Reform Act of 1995, 15 U.S.C. § 78u-4(b), to dismiss Lead Plaintiff’s First Amended Class Action

Complaint for Violations of the Federal Securities Laws (ECF No. 53). In support of their Motion,

Defendants are contemporaneously filing (1) a Memorandum in Support of their Motion and (2) a

Declaration of Carrie M. Stickel and the exhibits referenced therein.
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Dated: January 27, 2023                     Respectfully submitted,

                                            /s/ Michael J. Diver

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                                 CERTIFICATE OF SERVICE

          I certify that on this 27th day of January, 2023, a true and correct copy of the foregoing

   document was served on all counsel of record through the Court’s CM/ECF system.

                                                             /s/ Michael J. Diver
